                                                              United States Bankruptcy Court
                                                               Northern District of Alabama
In re:                                                                                                                 Case No. 17-81529-CRJ
Albert Delong                                                                                                          Chapter 7
       Debtor(s)
                                                     CERTIFICATE OF NOTICE
District/off: 1126-8                                                  User: admin                                                                 Page 1 of 3
Date Rcvd: Nov 03, 2020                                               Form ID: 318                                                              Total Noticed: 27
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.P.2002(g)(4).

##               Addresses marked '##' were identified by the USPS National Change of Address system as undeliverable. Notices will no longer be delivered by
                 the USPS to these addresses; therefore, they have been bypassed. The debtor's attorney or pro se debtor was advised that the specified notice was
                 undeliverable.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Nov 05, 2020:
Recip ID                 Recipient Name and Address
db                     + Albert Delong, 3212 E. Willow Street, Scottsboro, AL 35768-4150
9383418                  First Premier Bank, 601 S Minneaplois Ave, Dious FDalls, SD 57104
9404763                + H&R Block Bank, c/o Creditors Bankruptcy Service, P.O. Box 800849, Dallas, TX 75380-0849
10483141               + Highland Medical Center, 380 Woods Cove Rd., Scottsboro, AL 35768-2428
9383420                + Reflex, PO Box 8099, Newark, DE 19714-8099
9383423                + Scottsboro Urgent Care, PO Box 730, Scottsboro, AL 35768-0730
9383425                + Sun Loan Company, 201 Veterans Dr Ste 105, Scottsboro, AL 35768-2168
9383411                + Ultimate Auto, 3205 S Broad St., Scottsboro, AL 35769-7514
9421735                + Ultimate Auto Sales, William Tally, Claims Signatory, P.O. Box 1067, Scottsboro, AL 35768-1067

TOTAL: 9

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
smg                    + Email/Text: bnc_notices_northern@alnba.uscourts.gov
                                                                                        Nov 04 2020 01:22:00      Richard Blythe, BA Decatur, P O Box 3045,
                                                                                                                  Decatur, AL 35602-3045
9383413                + Email/Text: bk@creditcentralllc.com
                                                                                        Nov 04 2020 01:24:00      Credit Central, 145 East Laurel St, Scottsboro, AL
                                                                                                                  35768-1801
9469783                + Email/Text: bk@creditcentralllc.com
                                                                                        Nov 04 2020 01:24:00      Credit Central LLC, 700 E North St Ste 15,
                                                                                                                  Greenville, SC 29601-3013
9383414                + EDI: CCS.COM
                                                                                        Nov 04 2020 03:23:00      Credit Collections Svc, Po Box 773, Needham,
                                                                                                                  MA 02494-0918
9383415                + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Nov 04 2020 00:27:45      Credit One Bank Na, Po Box 98873, Las Vegas,
                                                                                                                  NV 89193-8873
9383416                + Email/Text: dleabankruptcy@hrblock.com
                                                                                        Nov 04 2020 01:20:00      Emerald Financial Services, PO Box 30040,
                                                                                                                  Tampa, FL 33630-3040
9383417                + EDI: BLUESTEM
                                                                                        Nov 04 2020 03:23:00      Fingerhut, 6250 Ridgewood Rd, St Cloud, MN
                                                                                                                  56303-0820
9603972                   EDI: JEFFERSONCAP.COM
                                                                                        Nov 04 2020 03:23:00      JEFFERSON CAPITAL SYSTEMS LLC, PO Box
                                                                                                                  7999, St Cloud MN 56302
9424719                   Email/PDF: resurgentbknotifications@resurgent.com
                                                                                        Nov 04 2020 00:26:21      LVNV Funding, LLC its successors and assigns
                                                                                                                  as, assignee of FNBM, LLC, Resurgent Capital
                                                                                                                  Services, PO Box 10587, Greenville, SC
                                                                                                                  29603-0587
9383419                + Email/Text: netcreditbnc@enova.com
                                                                                        Nov 04 2020 01:24:06      Net Credit Financial, Po Box 645295, Cincinnati,
                                                                                                                  OH 45264-5295
9483555                + EDI: JEFFERSONCAP.COM
                                                                                        Nov 04 2020 03:23:00      Premier Bankcard, Llc, Jefferson Capital Systems




            Case 17-81529-CRJ7 Doc 53 Filed 11/05/20 Entered 11/05/20 23:52:17                                                                   Desc
                              Imaged Certificate of Notice Page 1 of 5
District/off: 1126-8                                               User: admin                                                            Page 2 of 3
Date Rcvd: Nov 03, 2020                                            Form ID: 318                                                         Total Noticed: 27
                                                                                                            LLC Assignee, Po Box 7999, Saint Cloud Mn
                                                                                                            56302-7999
9482102                  EDI: Q3G.COM
                                                                                   Nov 04 2020 03:23:00     Quantum3 Group LLC as agent for, Sadino
                                                                                                            Funding LLC, PO Box 788, Kirkland, WA
                                                                                                            98083-0788
9391731               + Email/Text: bankruptcy@regionalmanagement.com
                                                                                   Nov 04 2020 01:20:00     REGIONAL MANAGEMENT CORPORATION,
                                                                                                            979 BATESVILLE ROAD, SUITE B, GREER,
                                                                                                            SC 29651-6819
9383422                  Email/Text: bankruptcy@republicfinance.com
                                                                                   Nov 04 2020 01:24:00     Republic Finance, 282 Tower Rd., Ponchatoula,
                                                                                                            LA 70454
9383421               + Email/Text: bankruptcy@regionalmanagement.com
                                                                                   Nov 04 2020 01:20:00     Regional Finance, 1605 S Broad St., Scottsboro,
                                                                                                            AL 35768-2610
9430291               + Email/Text: bankruptcy@regionalmanagement.com
                                                                                   Nov 04 2020 01:20:00     Regional Management Corporation, Shannon E.
                                                                                                            Henry, Claims Signatory, 979 Batesville Road
                                                                                                            Suite B, Greer, SC 29651-6819
9374234               + EDI: SECFIN.COM
                                                                                   Nov 04 2020 03:23:00     SFC Central Bankruptcy, PO Box 1893,
                                                                                                            Spartanburg, SC 29304-1893
9383424               + EDI: SECFIN.COM
                                                                                   Nov 04 2020 03:23:00     Security Finance, Sfc Centralized Bankruptcy, Po
                                                                                                            Box 1893, Spartanburg, SC 29304-1893

TOTAL: 18


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID          Bypass Reason Name and Address
cr                *P++          JEFFERSON CAPITAL SYSTEMS LLC, PO BOX 7999, SAINT CLOUD MN 56302-7999, address filed with court:, Jefferson
                                Capital Systems LLC, PO Box 7999, St Cloud, MN 56302-9617
cr                *P++          REPUBLIC FINANCE LLC, 282 TOWER RD, PONCHATOULA LA 70454-8318, address filed with court:, Republic Finance,
                                LLC, 282 Tower Rd., Ponchatoula, LA 70454
9383412           ##+           Continental Finance Co, Cfc, 121 Continental Dr #108, Newark, DE 19713-4326

TOTAL: 0 Undeliverable, 2 Duplicate, 1 Out of date forwarding address


                                                   NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Nov 05, 2020                                        Signature:           /s/Joseph Speetjens




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 3, 2020 at the address(es) listed
below:
Name                             Email Address
John C. Larsen
                                 on behalf of Debtor Albert Delong john@jlarsenlaw.com lori@jlarsenlaw.com;larsenjr86417@notify.bestcase.com

Judith Thompson
                                 judith@al-bk.com AL03@ecfcbis.com




            Case 17-81529-CRJ7 Doc 53 Filed 11/05/20 Entered 11/05/20 23:52:17                                                           Desc
                              Imaged Certificate of Notice Page 2 of 5
District/off: 1126-8                                     User: admin                                 Page 3 of 3
Date Rcvd: Nov 03, 2020                                  Form ID: 318                              Total Noticed: 27
Judith Thompson
                          on behalf of Trustee Judith Thompson judith@al-bk.com AL03@ecfcbis.com


TOTAL: 3




           Case 17-81529-CRJ7 Doc 53 Filed 11/05/20 Entered 11/05/20 23:52:17                      Desc
                             Imaged Certificate of Notice Page 3 of 5
Information to identify the case:
Debtor 1              Albert Delong                                               Social Security number or ITIN   xxx−xx−3550
                      First Name   Middle Name   Last Name                        EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                          Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                  EIN    _ _−_ _ _ _ _ _ _
UNITED STATES BANKRUPTCY COURT NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION

Case number: 17−81529−CRJ7




                                                                                                                           (12/15)
                                                      Order of Discharge

IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           Albert Delong


           11/3/20                                                        By the court: Clifton R. Jessup Jr.
                                                                                        United States Bankruptcy Judge


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                        For more information, see page 2 >

       ATTENTION DEBTOR: IMPORTANT DOCUMENT!                                 PLEASE KEEP FOR YOUR RECORDS!




Official Form 318                                            Order of Discharge                                page 1




       Case 17-81529-CRJ7 Doc 53 Filed 11/05/20 Entered 11/05/20 23:52:17                                            Desc
                         Imaged Certificate of Notice Page 4 of 5
Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;

     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2



     Case 17-81529-CRJ7 Doc 53 Filed 11/05/20 Entered 11/05/20 23:52:17                         Desc
                       Imaged Certificate of Notice Page 5 of 5
